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        In the United States Court of Federal Claims
                                        No. 19-1348
                                  Filed: October 22, 2019

                                             )
 PETRINA SMITH,                              )
                                             )
                   Plaintiff,                )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                   Defendant.                )
                                             )

                                           ORDER

        On October 21, 2019, defendant filed an unopposed motion for an enlargement of time,
requesting an additional sixty days in which to file its Response to plaintiff’s Complaint. For
good cause shown, defendant’s Motion is hereby GRANTED. Accordingly, defendant shall file
its Response on or before January 3, 2020.

       IT IS SO ORDERED.


                                                 s/   Loren A. Smith
                                                 Loren A. Smith,
                                                 Senior Judge
